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                                            POLK COUNTY SOCIAL SERVICES
                                          612 North Broadway, Room 302, Crookston, MN 56716-1452
                                                     Phone (218) 281-3127 Fax (218) 281-3926
                                                             Toll Free (877) 281-3127
                                                                     www.co .polk.m .us
April 7,2021




Judy Brown,



Per our conversation ith BCBS of MN Blue Plus , as well as the client. AlixaRX has incorrectly billed the
client for balance due. The client should only be billed for their co-payment amounts. There is no deductible
and the client is not responsible for balance due.

BCBS of MN has advised that they did not receive a claim from AlixaRX or Villa St Vincent for any
medications or services rendered in September 2019, specifically 9/3, 9/4 and 9/8.

The client continues to receive bills from AlixaRX for 2 medications given to client while in the facility, that
AlixaRX has advised that the claim was denied for.

Initially this bill was sent directly to the facility. The Villa St Vincent.


Erika Omdahl
Eligiblity Worker
Polk County Social Services




If you have questions on this please call me (218) 470-8455 or 218-280-3657




Erika Omdahl
Polk County Social Services
Health Care Worker
612 N. Broadway RM: 302
Ph: 218.470.8455
F: 218.281.3926

Cc: file




                                An Equal Opportunity/Affirmative Action Employer
       Case 4:21-cv-00284-ALM-CAN Document 8-4 Remittance  Section
                                               Filed 04/14/21 Page 3 of 10 PageID #: 176
alixa                          Irtnovatlvs pharmacy Bolutloh8l
                               enhanced patient care
                                                                                           Account Number: 2M2043235
                                                                                           Invoice Nu ber: 000000000,
AlixaRx; 6400 Pinecrest Dr., Suite 200 lano TX 75024                                       Statement Date: 01/31/2021
                                                                                           Previous Balance: $1,278.60
                                                                                           Current Charges: $0.00
Electronic Service Requested
                                                                                           Total Due: $1,278.60
    Please check box If address below Is Incorrect or insurance                            Amount Enclosed: $
    Information has changed. Indicate changefs) on reverse side.                                 If paying by credit card, please vlsltwww.alixarx.co billpay
                                                                                                 Please Include your account nu ber on your check an use
                                                                                                 enclosed envelope to re it pay ent to:
   aLSHODlW PRESORT PBPSOOB
                                                                                                      ALIXARX
         BURGOZ.GREG                                                                                  PO BOX 645331
   K G/O GRE BURGOZ                                                                                   PITTSBURGH PA 15264-5331
       220 STATE STREET
       CROOKSTON MN 56716-2050


533iaDODDDDDDDDei12DH3E35 DDODDDDQOODDDOCI2DaiD131DDOaDOODDDOni27fikODDODQODDaD5

                                                        Please detach and return above portion with your payment
                                                                                                                   Account Number:                 2M 043235
alixaRz                        Innovative pharmacy solutions,
                               onhaneed patient care
                                                                                                                   Invoice Nu ber:
                                                                                                                   Statement Date:
                                                                                                                                                    000000000
                                                                                                                                                    01/31/2021
                                                                                                                   Previous Balance:                $1,278.60
AlixaRx, 6400 Pinecrest Dr., Suite 00 Plano TX 75024
                                                                                                                   Current Charges:                     $0.00
                                                                                                                   Total Due:                       $1,278.60


impo tant Messages
For billing inquiries or questions regarding your account, please contact us at 877-322-4292 or email
us at BillingMNEA@AlixaRx.com. To make a payment by phone call our toll free number 844-461-4921.
Your account is over 90 days past due. o current charges, p st due balance.


Drug Name                                                                  Date            Rx#                 QTY        Copay Patient Pay Amount




                                                                                                       cc Y                  se rj t a

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                                                                                                        Q |AT
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                                                                                                   ¦ 1                    yl ixc



                                                                 Current           1 - 30 Days           31-60 Days          61 ¦ 90 Days      Over 90 Days
                                                                   $0.00                $0.00                 $0.00              $0.00          $1,278.60

        For billing Inquiries or questions about your account, please contact us at 67 -32 -4292 or please e ail us atBillingMNEA@AlixaR .com.

page 1 of 4                                                                                                                                                     5CRH1T7F
4/10/2021Case    4:21-cv-00284-ALM-CAN Document
                                        Medicaid Billing8-4   Filed
                                                         Guidelines    04/14/21
                                                                    - AAPC KnowledgePage
                                                                                    Center 4 of 10 PageID #: 177




                                             apc-News/) » Medicaid Billing Guidelines i
                                        Forum (nttps://www.aapc.com/aiscuss/)
                                         Knowledge Center (https:// w.aapc.com/blog/) Q



  Hot Topics

 Membership (https:// ww.aapc.com/membership/) Log In /Join (https://www.aapc.com/login.aspx)


                                                              Certification (https://www.aapc.com/certification/)


 Networking (https://www.aapc.com/networking/) Resources (https://www.aapc.com/resources/)©Print Post

  by Trina Cuppett, CPC, CPC-H
 Books/Software (https://www.aapc.com/onlinestore/)
  Billing for Medicaid can be tricky, as both federal and state guidelines apply. The Centers for Medicare and Medicaid
  (CMS) administers Medicaid under the direction of the Department of Health and Human Services (HHS).
  The federal guidelines always take precedence over the state guidelines, as the federal guidelines sets the minimum
  requirements that each state must follow. The individual states may then expand their progra s as long as they do not
  contradict federal guidelines. Expanding a program means that an individual state may opt to add additional coverage,
  such as: prescription drugs, dental services and prescription eyeglasses, that is not required by the federal guidelines.
  While providers and facilities may choose whether to participate in the Medicaid program, those who do must comply
  with all applicable guidelines, including balance billing." It s also important for providers to understand that Medicaid is
  considered to be the payer of last resource, meaning that if the patient has other coverages, they should be billed prior
  to billing Medicaid.
  Itjjoes agsfinstthe Medicaid guidelines to balance bill a Medicaid patient, their family or their power of attorney for any
  unpaid balance once Medicaid has paid what they allow un er the Medicaid fee schedule. This simply means that the
  provider must adjust off the leftover balance once any applicable charges for a copayment, deductible or coinsurance /
  is             met.
  NOTE: A balance does not constitute,                                   coinsurance          due.

  42 C.F.R. § 7.15 Acceptance of State payment as payment in full
  A state plan must provide that the Medicaid agency must limit participation in the Medicaid program t providers who
  accept, as payment in full, the amounts paid by the agency plus any deductible, coinsurance or copayment required
  by the plan to be paid by the individual.
  Basically, this means that a provider is not to bill the difference between the amount paid by the state Medicaid plan
  and the provider s customary charge to the patient, the patient’s family or a power of attorney for the patient.
  Billing and coding personnel should be familiar with their state guidelines pertaining the proper procedures and
  requirements for billing Medicaid.
  Example: In North Carolina the Basic Medicaid Billing Guide (April, 2010) contains a wealth of information that is not
  limited to billing information as it also contains items such as: The List of Standards for Office Wait Times.



https://www.aapc.com/blog/5190-medicaid-billing-guidelines/                                                                      1/7
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Brown, Judy

From:                                          Simpson, Kelly
Sent:                                          Tuesday, February 16, 2021 10:19 AM
To:                                             Brown, Judy
Subject:                                        FW: BILLING MEDICAID PATIENTS ESSAGE


Can you please write off the 2 deceased patients on the email below.

Thank you.
                                         Kelly Simpson
                                         Collections Supervisor
                                         6400 Pinecrest Dri e, Suite 200, Plano, TX 75024
                                         0:214-778-0353 m; 832-233-5883 e: Kellv.Simpson@alix3rx.com




From: Hovey, Matthew <matthew.hovey@alixarx.com>
Sent: Friday, February 12, 2021 6:08 PM
To: Billing <billing@alixarx.com>
Subject: BILLING MEDICAID PATIENTS MESSAGE

Hello,
          Voicemail are regarding the A/R group code change from Medicaid to Private pay . i "
         1. William Wright Account# 2M2035431 Still active Phone (507) 27 -0649 | f
         2. Bertha Panyan Account#2M2037511 Passed away on 03/02/2020 Phone (715) 235-3777
         3. Eleanore Akerlnd Account#2m2027625 Passed away on 07/25/2020 Phone (701) 215-1716

           Thank you,




Matthew Hovey, CPhT
Certified Pha-macy etinician
Pharmacy Billing Specialist, Minneapolis Hub
10132 W. 76th St. | Eden Prairie, MN 55344
P: 877-322-4292 | F: 855-235-9836 | E: Matthew.Hovey(5)alixarx.com

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                         enhanced p tferv! osr©



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4/11/2021Case   4:21-cv-00284-ALM-CAN Document    8-4 Filed 04/14/21
                                           jd.brown2017@yahoo.com           Page 6 of 10 PageID #: 179
                                                                  - Yahoo Mail



  From: Simpson, Kelly
  Sent: Tuesday, February 16, 2021 10:20 AM
  To: Brown, Judy <iudv.brown@alixarx.com>
  Subject: FW: BILLING MEDICAID PATIENT- CAROL KENDALL


  Can you please call the POA Carol and let her kno we will write off the account. Please zero the account out.




   Thank you, Kelly Simpson
                                       Collections Supervisor

                                       6400 Pinecrest Drive, Suite 200, Plano, TX 75024

                                       o: 214-778-0353 m: 832-233-5883
                                       e: Kellv.SimDSon@alixarx.com




  From: Yudeshwar, Daiane <daiane.yudeshwar@alixarx.com>
  Sent: Friday, February 12, 2021 5:41 PM
  To: Billing <billing@alixarx.com>
  Cc: Simpson, Kelly <kellv.simpson@alixarx.com>
  Subject: BILLING MEDICAID PATIENT- CAROL KENDALL


  Hello,

             I spoke with Carol, patient s daughter (POA) regarding the A/R group code change from Medicaid to Private pay.
  Patient don t have any money left in her estate. Also ention to her that I will have someone from our corporate office reach
  out to her regarding the invoice. (507)259-2012

           CAROL A. KENDALL ACCOUNT#2M2035458 Death date 0/23/2019 Phone (507) 259-2012


           Let us know if you need more info.



                     Thank you




  Daiane Yudeshw r
  Pharmacy Billing Specialist, Minneapolis Hub

  1-877-322-4292 EXT 1913

  Daiane.Yudeshwar@ALIXARX.COM

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4/11/2021Case   4:21-cv-00284-ALM-CAN Document   8-4 Filed 04/14/21
                                          jd.brown2017@yahoo.com           Page 7 of 10 PageID #: 180
                                                                 - Yahoo Mail



      From: AlixaBillingMNEA
      Sent: Wednesday, January 27, 2021 1:19 PM
      To: Brown, Judy <iudy.brown@.alixarx.com>
      Subject: BILLING MEDICAID PATIENTS MESSAGE



      From: Larry and Karol Eckel [mailto:likeeckel@,yahoo.coml
      Sent: Sunday, January 17, 2021 10:40 AM
      To: AlixaBillingMNEA <billinqmnea@alixarx.com>
      Subject: Leo Eckel - Billing Inquiry



      Exte al Em l - Please use caatioti before opening attael e ts o clicking li ks


      AlixaRx:



      My father just received the first bill he's received in months and it shows a past due
      balance. Can you help us explain it?




      He shows a balance past due of $675.47 but he is on Medicare and Medicaid and has no
      money. All his prescriptions should be covered under his Medicaid Medica Plan. As he
      is on public assistance now, he has no way to pay this bill.




      The billing statement and his Medicaid prescription drug statement are attached.




      Thank you for looking into this. We look forward to hearing from you soon.




      Regards,



      For Leo Eckel

      AlixaRx Number: 2M-203-5443

      Please consider the environment before printing this e-mail.

      CONFIDENTIAL NOTICE: This e-mail message and any attachment(s) (collectively, this 'Email')
      are intended only for the confidential use of the recipient(s) named above. If the reader of this
      message is not the intended recipient named above or an agent responsible for delivering it to the
      intended recipient name above, you have received this Email in error. Please notify the sender
      immediately and permanently delete this Email and any copies thereof.




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4/11/2021Case   4:21-cv-00284-ALM-CAN Document    8-4 Filed 04/14/21
                                           jd.brown2017@yahoo.com           Page 8 of 10 PageID #: 181
                                                                  - Yahoo Mail
             Thank you,




  Matthew Hovey, CPhT
  Certifie Pharmacy Technician

  Pharmacy Billing Specialist, Minneapolis Hub

  10132 W. 76th St | Eden Prairie, MN 55344
  P: 877-322-4292 | F: 855-235-9836 | E: Matthew.Hovev@.alixarx.com




  From: Hovey, Matthew
  Sent: Monday, January 18,2021 4:28 PM
  To: Bro n, Judy <iudv.brown@alixarx.com>
  Subject: BILLING MEDICAID PATIENTS ESSAGES


  Hello,

             We have some messages that were left on our voicemail are regarding the A/R group code change from Medicaid
  to Private pay.

                1. ERNEST GUDVANGE ACCOUNT#2M2027665 Death date:12/16/2020 Phone (218) 349-4566
                2. JUANITA WINGER ACCOUNT#2M2032611 STILL ACTIVE Phone (218) 281-5684
                3. EDWARD CURRIE ACCOUNT#2M2044302 Death date:ll/12/2019 Phone (218) 281-1491


           Let us know if you need more info.



                       Thank you



  Matthew Hovey, CPhT
  Certified Phar acy Technician

  Pharmacy Billing Specialist, inneapolis Hub

  10132 W. 76th St. | Eden Prairie, MN 55344
  P: 877-322-429 | F: 855-235-9836 | E: Matthe .Hovev@alixarx.com




https://mail.yahoo.co d/folders 31/messages/174079?.src=ym&guce_referrer=aHR0cH 6Ly9sb2dpbi55YWhvby5jb20v&guce_referrer_sig=AQAAAI... 2/3
            Case 4:21-cv-00284-ALM-CAN Document 8-4 Filed 04/14/21 Page 9 of 10 PageID #: 182
                      DEPARTMENT OF
    I I I J HUM N SE VICES                                                                              DHS-3641-ENG                        8-18


     MINNESOTA HEALTH CARE PROGRAMS (MHCP)
    Advance MerfiBef otice of Noncovered Prescription
    MHCP does not pay for eveiything, even some prescriptions that you or your health care provider has good reason to think you
    need. MHCP does not pay for the noncovered pre cription listed below. Your health care provider is allowed to char e you,
    and you will have to pay if you choose to get the prescription. Aho, you are not allowed to pay for a controlled substance, or
    gabapentin, unless you get written approval from your prescriber on this form. Before signing this form:
    • Read the whole notice, including the instructions, so you can make an informed choice about your care
    • Ask your health care ro ider or pharmacist any questions you have after you finish reading
     Provider(s); Print all pages of this notice. Keep one copy in the ember's file, and ive one copy to the me ber.

     Member Information
     LAST NAME                                   FIRST AME                          Ml        MHCP MEMBER ID#             DATE OF BIRTH




     Pharmacy and Prescription Information
     PHAR ACY FAX UMBER         PHARMACY AME                                                                              DATE OF SERVICE


     NONCOVERED PRESCRIPTION: NAME, STRENGTH, AND QUANTITY


     REASON(S) HCP DOES OT COVE PRESCRIPTIO


     COST OF NONCOVERED PRESCRIPTION        NAME(S) OF ALTERNATIVE COVERED PRESCRIPTIO ®




     Member Signature
     Read the statement below. If you understand and agree, check the box, and si n and date the form.

            1 ha e reviewed the member instructions on the second page, and 1 want the noncovered prescription listed above. 1
            understand that MHCP does not cover the prescription an 1 will have to pay for it. A different prescription may be covered
            by MHCP, but 1 do not want that prescription.
     SIGNATURE OF ME BER, LEGAL GUA DIA , AUTHORIZED REPRESENTATIVE, OR RESPONSIBLE PARTY                                 DATE


     NA E OF LEGAL GUARDIAN, AUTHORIZED REPRESENTATIVE, OR RESPONSIBLE PARTY (please print)




     Prescriber Signature
       ead the statement below. If you understand and agree, check the box, and sign and date the form.

            1 have personally reviewed the prescriber instructions on the second page, and 1 certify that all criteria are met. The
            pharmacist should be allo ed to sell the noncovered controlled substance or gabapentin that 1 prescribed to the
            me ber. However, 1 understand the pharmacist is not required to sell the prescription to the member. 1 understand that
            MHCP does not cover the prescription and the me ber ill have to pay for it.
     PRESCRIBER SIGNATURE (no delegate signatures accepted)                                                               DATE


     PRESCRIBER NAME (please print)                                                    PRESCRIBER NPI             DENIED PA NUMBER



Pagel of3
              Case 4:21-cv-00284-ALM-CAN Document 8-4 Filed 04/14/21 Page 10 of 10 PageID #: 183

      Advance Member Notice of Noncovered Prescription Instructions
      Pharmacist
      Use NDC Search to nd out whether a pre cription is covered or requires authorization.

        If                                                                  Then —
        If a prescription is a covered drug but requires authorization      Then request authorization through the MHCP Prescription
                                                                            Drug PA Agent. If the authorization is denied, you may bill the
                                                                            member. To do that, read the information below this table and
                                                                            complete the form.
        If a prescription does not require authorization                    Then bill MHCP. If MHCP denies payment for a reason other
                                                                            than a billing error, you may bill the member. To do that, read
                                                                            the information below this table and complete the form.
        If a prescription is for a drug that is never a covered dru         Then you may bill the member. To do that, read the
                                                                            information below this table and complete the form.

      Accept payment from a member for a noncovered prescription only hen all the following apply:
       ® The member is not enrolled in the restricted recipient pro ram.
       • You reviewed with the member the reason(s) the prescription is not covered and available covered alternatives.
       • You obtained the member's si nature on this form.
       • If the member wants to pay for a noncovered prescri tion for a controlled substance or gabapentin, the prescriber has signed the
          form certifyin that you should be allowed to charge the member for the prescription.
      If a member has other insurance but the other insurance requires authorization for the prescription, you must request authorization
      and seek payment from the other insurance.
      If the prescriber has not signed this form, do not ccept payment from the member, or from someone payin on behalf of the
      member, for any controlled substance or gabapentin.


      Member
      You are asking for a dru or item that MHCP doe not cover or you do not meet the criteria for. The harmacist tried etting approval
      or payment for the drug or item. The phar acist has to tell you why MHCP does not cover the drug or item. The pharmacist also has
      to tell you about other drugs or ite s that MHCP covers. If you still want the noncovered drug or item, sign the form. You are
      responsible for paying the phar acy for the drug or item.
      If the noncovered rescription is for a controlled substance, or gabapentin, your rescriber must certify that the pharmacy should be
      allowed to charge you for the prescription.
      If you have questions about this form, or if the provider should have asked you to sign this form but did not, call the MHCP Member
      Help Desk at 651-431-2670 or 800-657-3739.
      If you believe your prescription should have been covered by MHCP and you were billed by the provider in error, you have the right
      to ap eal.


      Prescriber
      You are asking that the pharmacy be allowed to charge a member for a controlled substance, or gabapentin, that you prescribed. You
      are also certifying all the following:
       ° You are an enrolled MHCP provider and you have pre cribed the noncovered prescription.
       ° You have attempted to request prior authorization for the prescription to be covered if a prior authorization is required or you
          have attempted to reque t prior authorization if the dose you prescribed exceeds what MHCP will cover.
       8 The covered alternatives are not option for the ember.
       • You are a are of the member's tr eatment re imen, including the last time this prescription wa filled.
       8 The pharmacy should be allowed to char e the member for the noncovered prescription on this date of ser ice because it is
         medically necessar .
      If you certify that all the criteria above are met and you are asking that the pharmacy be allowed to charge a member for a controlled
      substance, or gabapentin, that you prescribed, then note your approval on the front of this form, sign and date the form, and send a
      signed copy to the pharmac for its records. You must al o save a copy of the form, or docu ent the approval, in the member's
      medical record.



Page 2 of 3                                                                                                                        DHS-3641-ENG 8-18
